                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2022-NCCOA-209

                                          No. COA21-482

                                      Filed 5 April 2022

     Wake County, No. 20 OSP 02154

     CECIL JOHN RUSSELL, Petitioner,

                  v.

     NORTH CAROLINA DEPARTMENT OF PUBLIC SAFETY, Respondent.


           Appeal by Respondent from order entered on 23 December 2020 by

     Administrative Law Judge Melissa Owens Lassiter in the Office of Administrative

     Hearings. Heard in the Court of Appeals 23 February 2022.


           Jennifer J. Knox for Petitioner-Appellee.

           Attorney General Joshua H. Stein, by Assistant Attorney General Adrina G.
           Bass, for Defendant-Appellant.


           JACKSON, Judge.


¶1         The North Carolina Department of Public Safety (“Respondent”) appeals from

     a final decision in a contested case in the Office of Administrative Hearings (“OAH”).

     We affirm the order of the administrative law judge (“ALJ”).

                                     I.     Background

¶2         On 12 November 2018, Cecil John Russell (“Petitioner”) was employed as a

     corrections officer at Central Prison in Raleigh, North Carolina, when he suffered a

     work-related injury. As a result of the injury, Petitioner was placed on a leave of
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     absence.   During his leave of absence, Petitioner received medical benefits and

     disability compensation under North Carolina’s Workers’ Compensation Act.

¶3         On 5 July 2019, Petitioner was allowed to return to work in a light duty

     position. The next month, however, he suffered a reinjury during his recertification

     as a law enforcement officer. As a result of the reinjury, Petitioner was placed on

     another leave of absence, and began to receive workers’ compensation benefits again.

¶4         On 17 January 2020, Petitioner requested job placement assistance from

     Respondent.    Ms. R. Hinton, a human resources professional employed by

     Respondent, testified at the contested case hearing that when one of Respondent’s

     employees is released from a physician’s care after a work-related injury with

     permanent restrictions, an effort is made to locate a new position for the employee

     where the employee can work in a full duty capacity. Ms. Hinton described the job

     placement assistance process as follows:     when an employee is released from a

     physician’s care with permanent restrictions, meaning the employee cannot return to

     the employee’s previous job at full duty, Respondent sends the employee a letter

     confirming that the employee has reached maximum medical improvement but still

     has a disability, and includes a blank employment application with the letter. The

     employee then has 15 days to return the application, and after receiving the

     completed application, Respondent conducts two job searches for the employee.

     Respondent’s recruitment section determines the possible positions for which the
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     employee is qualified based on the contents of the application, and then human

     resources runs a report of vacant positions within a 50-mile radius of the employee.

     Respondent runs two of these reports once a week during two consecutive weeks. If

     no vacant position is located during these job searches, the employee is separated

     from employment due to unavailability.

¶5         The job searches performed for Petitioner were unsuccessful. On 12 February

     2020, Respondent sent Petitioner a Pre-Separation Letter.          The Pre-Separation

     Letter explained:

                  when an employee is on workers’ compensation leave of
                  absence, and the employee is unable to return to all of the
                  position’s essential duties as set forth in the employee’s job
                  description or designated work schedule due to a medical
                  condition or the vagueness of a medical prognosis, and the
                  employee and the agency are unable to reach agreement on
                  a return to work arrangement that meets both the needs of
                  the agency and the employee’s medical condition, a
                  separation may occur on the earliest of the following dates:

                  (i)    after the employee has reached maximum medical
                         improvement for the work-related injury for which
                         the employee is on workers’ compensation leave of
                         absence and the agency is unable to accommodate
                         the employee’s permanent work restrictions related
                         to such injury; or

                  (ii)   12 months after the date of the employee’s work-
                         related injury.

     The Pre-Separation Letter noted that Petitioner was informed on 28 January 2020

     that “there were no suitable vacant positions available given [his] medical restrictions
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     and qualifications[,]” and advised as follows:

                  Should you remain unavailable, prior to a recommendation
                  for your separation, you will be given the opportunity to
                  meet with me or propose in writing alternative methods of
                  accommodation to avoid this separation. If you would like
                  to meet, you should contact me at [redacted] by February
                  27, 2020. If you would like to submit your proposal in
                  writing, it should be received at this office by February 27,
                  2020.

                  If you remain unavailable after February 27, 2020, I will
                  recommend your separation from employment under the
                  provision of Separation Due to Unavailability[.] Such a
                  separation is an involuntary separation and not considered
                  disciplinary action.

¶6         After receiving the letter, Petitioner contacted his supervisor and requested

     the meeting offered in the letter. Petitioner’s supervisor told him the meeting would

     be pointless if he could not return to full duty work by the 27 February 2020 deadline.

     Petitioner stated that he wanted to propose an alternative method of accommodation,

     but needed assistance doing so. Instead of receiving any assistance or the opportunity

     to meet with his supervisor, Petitioner was told taking either step would be futile.

¶7         On 3 March 2020, Respondent sent Petitioner a Letter of Separation informing

     him that he was being separated from his employment due to unavailability. The

     Letter of Separation described Petitioner’s appeal rights as follows:

                  If you are a “career State employee” (as defined in N.C.G.S.
                  § 126-1.1) and wish to appeal this decision, you must do so
                  in writing within fifteen (15) calendar days. The appeal
                  must be submitted by using the Step 1 Grievance Filing
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                 Form HR 555. The appeal must be mailed to the Grievance
                 Intake Coordinator, Department of Public Safety, 512 N.
                 Salisbury Street, 4201 Mail Service Center, Raleigh, NC
                 27699-4201. As an alternative to mail, the appeal may be
                 mailed to [redacted e-mail address], or hand delivered to
                 the State Capitol Police, 417 N. Salisbury Street, Raleigh,
                 NC 27603, between the hours of 8:00 a.m. and 5:00 p.m.

     Petitioner received the Letter of Separation on 9 March 2020, so the deadline for

     submission of his Step 1 Grievance Form was 24 March 2020.

¶8         On 20 March 2020, Petitioner completed a Step 1 Grievance Form to internally

     appeal Respondent’s decision to separate him from his employment. He testified that

     the Grievance Form was mailed to Respondent’s Raleigh office from his home in

     Fayetteville that day and that he personally observed his wife stamp the envelope

     and place it in the mailbox. During this timeframe, many employees of Respondent

     were working remotely because of the COVID-19 pandemic, and the mail was not

     being checked daily.

¶9         On 7 April 2020, Petitioner submitted a photograph of the Grievance Form he

     completed on 20 March 2020 to Respondent’s Grievance Intake Coordinator by e-mail.

     The next day, the Grievance Intake Coordinator informed him that she was unable

     to print the Grievance Form using the photograph Petitioner sent. A date stamp on

     Petitioner’s Grievance Form in the record on appeal suggests that it was received by

     Respondent on 8 April 2020. On 9 April 2020, Petitioner e-mailed another copy of the

     Grievance Form to Respondent’s Grievance Intake Coordinator, who confirmed that
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       this second copy was legible and had been received.

¶ 10         In a 16 April 2020 letter, Respondent informed Petitioner that it considered

       the grievance untimely. Respondent took the position that Petitioner had failed to

       meet the 24 March 2020 deadline because Respondent did not receive the grievance

       until 7 April 2020—the date Petitioner first attempted to provide Respondent with a

       copy by e-mail—despite the 8 April 2020 date stamp in the record on appeal and

       Respondent’s 9 April 2020 confirmation of receipt by e-mail.

¶ 11         On 26 May 2020, Petitioner initiated a contested case in OAH, alleging that he

       had been discharged without just cause and without sufficient action to place him in

       a different position. On 25 June 2020, Respondent made a motion to dismiss, arguing

       that OAH lacked subject matter jurisdiction because Petitioner had failed to first

       exhaust his administrative remedies by timely filing a Step 1 Grievance Form. On 2

       July 2020, Petitioner filed a response to the motion to dismiss. On 3 August 2020,

       the ALJ denied Respondent’s prehearing motion to dismiss. On 7 August 2020,

       Petitioner filed a prehearing statement. On 11 August 2020, Respondent filed a

       prehearing statement.

¶ 12         The matter came on for hearing on 8 October 2020. Respondent renewed its

       motion to dismiss at the beginning of the hearing, which the ALJ denied. Petitioner’s

       supervisor, who had signed both the 12 February 2020 Pre-Separation Letter and 3

       March 2020 Separation Letter, did not testify.          Respondent’s Grievance Intake
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       Coordinator essentially testified that she first received a copy of Petitioner’s

       grievance on 7 April 2020 and that the original copy of Petitioner’s grievance had

       never been received.     On cross-examination, the Grievance Intake Coordinator

       admitted that she could not remember which days of the week she was in the office

       during the March to April 2020 timeframe, but stated that she was most likely in the

       office at least three days a week.

¶ 13         In an order entered on 23 December 2020, the ALJ reversed Respondent’s

       decision to separate Petitioner from his employment and ordered that he be

       retroactively reinstated to the same or similar position he previously held and receive

       back pay, benefits, and attorney’s fees. The ALJ also denied Respondent’s renewed

       motion to dismiss based on “the effects COVID-19 has had on the operation of our

       State government offices[.]”

¶ 14         Respondent entered timely notice of appeal on 21 January 2021 and entered a

       corrected notice of appeal the following day.

                                            II.   Analysis

¶ 15         Respondent argues the ALJ erred in denying Respondent’s motions to dismiss

       for lack of subject matter jurisdiction because Petitioner failed to first exhaust his

       administrative remedies before filing the contested case in OAH. The ALJ made no

       express finding regarding the timeliness of the filing of Petitioner’s Step 1 Grievance

       Form but denied both of Respondent’s motions to dismiss and concluded she had
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       subject matter jurisdiction over the case. Based on these rulings, the ALJ necessarily

       found Petitioner’s Step 1 Grievance was timely filed, despite not doing so expressly.

       We hold that there is a rational basis in the evidence to support this finding and

       affirm the order of the ALJ.

       A. Standard of Review

¶ 16          “Chapter 150B, the Administrative Procedure Act, specifically governs the

       scope and standard of this Court’s review of an administrative agency’s final

       decision.” Harris v. N.C. Dep’t of Pub. Safety, 252 N.C. App. 94, 98, 798 S.E.2d 127,

       132, aff’d, 370 N.C. 386, 808 S.E.2d 142 (2017). Chapter 150B provides:

                    The court reviewing a final decision may affirm the
                    decision or remand the case for further proceedings. It may
                    also reverse or modify the decision if the substantial rights
                    of the petitioners may have been prejudiced because the
                    findings, inferences, conclusions, or decisions are:

                    (1)   In violation of constitutional provisions;

                    (2)   In excess of the statutory authority or jurisdiction of
                          the agency or administrative law judge;

                    (3)   Made upon unlawful procedure;

                    (4)   Affected by other error of law;

                    (5)   Unsupported by substantial evidence admissible
                          under G.S. 150B-29(a), 150B-30, or 150B-31 in view
                          of the entire record as submitted; or

                    (6)   Arbitrary, capricious, or an abuse of discretion.

       N.C. Gen. Stat. § 150B-51(b) (2021). “The standard of review is dictated by the
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       substantive nature of each assignment of error.” Harris, 252 N.C. App. at 99, 798

       S.E.2d at 132 (citing N.C. Gen. Stat. § 150B-51(c)). “[Q]uestions of law receive de

       novo review, whereas fact-intensive issues such as sufficiency of the evidence to

       support an agency’s decision are reviewed under the whole-record test.” Id. (citation

       omitted).

¶ 17         “The ‘whole record’ test requires the reviewing court to examine all competent

       evidence (the ‘whole record’) in order to determine whether the agency decision is

       supported by ‘substantial evidence.’” Amanini v. N.C. Dep’t of Hum. Res., 114 N.C.

       App. 668, 674, 443 S.E.2d 114, 118 (1994) (citation omitted). “As distinguished from

       the ‘any competent evidence’ test and a de novo review, the ‘whole record’ test gives

       a reviewing court the capability to determine whether an administrative decision has

       a rational basis in the evidence.” Bennett v. Hertford Cnty. Bd. of Educ., 69 N.C. App.

       615, 618, 317 S.E.2d 912, 915 (1984) (internal marks and citation omitted). “[T]he

       manner of our review is [not] governed merely by the label an appellant places upon

       an assignment of error; rather, we first determine the actual nature of the contended

       error, then proceed with an application of the proper scope of review.” Amanini, 114

       N.C. App. at 675, 443 S.E.2d at 118.

       B. The ALJ’s Decision Has a Rational Basis in the Evidence

          1. Separation Due to Unavailability

¶ 18         Codified in Chapter 126 of our General Statutes, the North Carolina Human
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       Resources Act governs personnel actions against state employees. Hunt v. N.C. Dep’t

       of Pub. Safety, 260 N.C. App. 40, 44, 817 S.E.2d 257, 260-61 (2018). Generally

       speaking, “[n]o career State employee . . . shall be discharged, suspended, or demoted

       for disciplinary reasons, except for just cause.” N.C. Gen. Stat. § 126-35(a) (2021).

       State employees enjoy “a property interest [in] continued employment created by N.C.

       Gen. Stat. § 126-35 and protected by the Due Process Clause of the United States

       Constitution.” Emp. Sec. Comm’n v. Peace, 128 N.C. App. 1, 10-11, 493 S.E.2d 466,

       472 (1997) (citations omitted). However, on a non-disciplinary basis, state employees

       can be involuntarily separated from their employment if they are unable to perform

       their duties because they are unavailable to work under a provision of the North

       Carolina Administrative Code providing for “Separation Due to Unavailability.” See

       25 N.C. Admin. Code 1C.1007 (2021).

¶ 19         When an employee has been on a leave of absence because of a work-related

       injury, 25 N.C. Admin. Code 1C.007(a)(3) provides in relevant part that the employee

       may be separated from the employee’s employment due to unavailability when

                    the employee is unable to return to all of the position’s
                    essential duties as set forth in the employee’s job
                    description or designated work schedule due to a medical
                    condition or the vagueness of a medical prognosis, and the
                    employee and the agency are unable to reach agreement on
                    a return to work arrangement that meets both the needs of
                    the agency and the employee’s medical condition[.]

       Id. 1C.1007(a)(3). In such a situation,
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                   a separation may occur on the earliest of the following
                   dates:

                         (A) after the employee has reached maximum
                         medical improvement for the work related injury for
                         which the employee is on workers’ compensation
                         leave of absence and the agency is unable to
                         accommodate the employee’s permanent work
                         restrictions related to such injury; or

                         (B) 12 months after the date of the employee’s work
                         related injury.

       Id.
¶ 20         Subsections (b) and (c) of subchapter 1C, section .1007 delineate the process

       the employing agency must follow:

                   (b)    The employing agency shall send the employee
                   written notice of the proposed separation in a Pre
                   Separation Letter. The letter shall include the employing
                   agency’s planned date of separation, the efforts undertaken
                   to avoid separation, and why the efforts were unsuccessful.
                   This letter shall be sent to the employee at least 15
                   calendar days prior to the employing agency’s planned date
                   of separation. This letter shall include a deadline for the
                   employee to respond in writing no less than five calendar
                   days prior to the employing agency’s planned date of
                   separation.

                   (c)    If the agency and employee are unable to agree on
                   terms of continued employment or the employee does not
                   respond to the Pre Separation letter, the employing agency
                   shall send the employee written notice in a Letter of
                   Separation. The letter shall be sent no earlier than 20
                   calendar days after the Pre Separation letter is sent to the
                   employee. The Letter of Separation shall state the actual
                   date of separation, specific reasons for the separation and
                   set forth the employee’s right of appeal. . . .
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       Id. 1C.1007(b), (c).

¶ 21          North Carolina General Statute § 126-34.01 provides that a state employee

       “having a grievance arising out of or due to the employee’s employment shall first

       discuss the problem or grievance with the employee’s supervisor, . . . [and] [t]hen . . .

       shall follow the grievance procedure approved by the State Human Resources

       Commission.” N.C. Gen. Stat. § 126-34.01 (2021). Importantly, separation due to

       unavailability “may be grieved or appealed.” 25 N.C. Admin. Code 1C.007(c) (2021).

       “The burden of proof on the agency in the event of a grievance . . . shall be to prove

       that the employee was unavailable, that efforts were undertaken to avoid separation,

       and why the efforts were unsuccessful.” Id. After an appeal of an involuntary

       separation due to unavailability through the grievance process, “the final agency

       decision shall set forth the specific acts or omissions that are the basis of the

       employee’s dismissal.” Id. 1J.0613(h).

¶ 22          “Once a final agency decision is issued, a . . . State employee may appeal an

       adverse employment action as a contested case pursuant to the method provided in

       N.C. Gen. Stat. § 126-34.02[.]” Harris, 252 N.C. App. at 98, 798 S.E.2d at 131. Under

       N.C. Gen. Stat. § 126-34.02(b), there are six grounds for initiating a contested case in

       OAH, the third of which includes “appeal[ing] an involuntary nondisciplinary

       separation due to an employee’s unavailability[.]” N.C. Gen. Stat. § 126-34.02(b)(3)

       (2021). In such a case, “the agency shall only have the burden to prove that the
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       employee was unavailable.” Id. If the agency fails to meet this burden, the ALJ

       presiding over the case may (1) reinstate the employee to the employee’s previous

       position; (2) “[o]rder the employment, promotion, transfer, or salary adjustment of

       any individual to whom it has been wrongfully denied”; or (3) “[d]irect . . . payment

       for any loss of salary which has resulted from the improper action of the appointing

       authority.” Id. § 126-34.02(a). ALJs are “free to substitute their judgment for that of

       the agency[,]” Harris, 252 N.C. App. at 102, 798 S.E.2d at 134, and thus “have been

       given many of the powers and duties generally regarded as necessary to the

       independent function of our courts of justice[,]” Ford v. Dep’t of Env’t, Health &amp; Nat.

       Res., 107 N.C. App. 192, 197, 419 S.E.2d 204, 207 (1992). Either party can appeal to

       our Court from the ALJ’s decision. Harris, 252 N.C. App. at 96, 798 S.E.2d at 130-

       31.

             2. Subject Matter Jurisdiction

¶ 23           “The right to appeal to an administrative agency is granted by statute, and

       compliance with statutory provisions is necessary to sustain the appeal.” Lewis v. N.

       Carolina Dep’t of Hum. Res., 92 N.C. App. 737, 739, 375 S.E.2d 712, 714 (1989). The

       failure to use the agency grievance process before initiating a contested case in OAH

       deprives OAH of subject matter jurisdiction over the case. Nailing v. Univ. of N.C.,

       117 N.C. App. 318, 324, 451 S.E.2d 351, 355 (1994).

                     Subject matter jurisdiction is jurisdiction over the nature
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                    of the case and the type of relief sought. Subject matter
                    jurisdiction involves the authority of a court to adjudicate
                    the type of controversy presented by the action before it. A
                    court’s lack of subject matter jurisdiction is not waivable
                    and can be raised at any time, including on appeal.

       Banks v. Hunter, 251 N.C. App. 528, 531, 796 S.E.2d 361, 365 (2017) (cleaned up).

¶ 24         The sole disputed evidentiary issue at the contested case hearing in this matter

       was whether Petitioner’s 20 March 2020 Grievance Form was timely filed. Petitioner

       testified that his wife mailed the form the same day he completed it and that he

       personally observed her stamp the envelope and put it in the mailbox. Petitioner was

       mailing the Grievance Form from Fayetteville to Raleigh. Respondent’s Grievance

       Intake Coordinator testified that this original copy of the form was never received by

       Respondent; instead, a legible electronic copy of the form was not received until 9

       April 2020—16 days after the 24 March 2020 deadline.          The Grievance Intake

       Coordinator admitted, however, that many of Respondent’s employees were working

       remotely in March and April of 2020 because of the COVID-19 pandemic and that the

       mail was not being checked daily. The ALJ made no express finding regarding the

       timeliness of the filing of the Grievance Form but she denied Respondent’s renewed

       motion to dismiss for lack of subject matter jurisdiction based on “the effects COVID-

       19 . . . on the operation of our State government offices[.]” This ruling implies that

       the ALJ credited Petitioner’s testimony, and implicitly found that the Grievance

       Form was timely filed. The ALJ’s conclusion of law that she had subject matter
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       jurisdiction over the case likewise necessitates that the ALJ found the Grievance

       Form was timely filed, despite not doing so expressly.

¶ 25         We hold that there is a rational basis in the evidence for the finding that the

       Grievance Form was timely filed. Under the whole record test, the reviewing court

       “must examine all the record evidence—that which detracts from the agency’s

       findings and conclusions as well as that which tends to support them—to determine

       whether there is substantial evidence to justify the agency’s decision.” N.C. Dep’t of

       Env’t &amp; Nat. Res. v. Carroll, 358 N.C. 649, 660, 599 S.E.2d 888, 895 (2004) (citation

       omitted). “Substantial evidence” means “[r]elevant evidence a reasonable mind might

       accept as adequate to support a conclusion.” N.C. Gen. Stat. § 150B-2(8c) (2021).

                    In a contested case under the APA, as in a legal proceeding
                    initiated in District or Superior Court, there is but one fact-
                    finding hearing of record when witness demeanor may be
                    directly observed. It is also well established that in an
                    administrative proceeding, it is the prerogative and duty of
                    the ALJ, once all the evidence has been presented and
                    considered, to determine the weight and sufficiency of the
                    evidence and the credibility of the witnesses, to draw
                    inferences from the facts, and to appraise conflicting and
                    circumstantial evidence. The credibility of witnesses and
                    the probative value of particular testimony are for the ALJ
                    to determine, and the ALJ may accept or reject in whole or
                    part the testimony of any witness. Our review, therefore,
                    must be undertaken with a high degree of deference as to
                    the credibility of witnesses and the probative value of
                    particular testimony.       As our Supreme Court has
                    explained, the ALJ who conducts a contested case hearing
                    possesses those institutional advantages that make it
                    appropriate for a reviewing court to defer to his or her
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                    findings of fact.

       Brewington v. N.C. Dep’t of Pub. Safety, 254 N.C. App. 1, 13, 802 S.E.2d 115, 124-25
       (2017) (cleaned up).

¶ 26         On 24 March 2020, when the Grievance Form was due, North Carolina

       Governor Roy Cooper had declared a state of emergency in response to the COVID-

       19 pandemic.      See Exec. Order No. 116 (2020).         Respondent had allowed

       telecommuting for non-essential personnel, suspended staff training, limited external

       movement by offenders to reduce potential COVID-19 spread, and suspended

       visitation and volunteering at all prisons. Director and Chief Judge Julian Mann of

       OAH had encouraged all OAH employees to telecommute, and as of 18 March 2020,

       only “[a] very small number of managerial employees, as safety permits, ha[d] elected

       to be physically present in OAH, mostly on a staggered basis[.]” As Respondent’s

       Grievance Intake Coordinator admitted on cross-examination, many of Respondent’s

       employees were working remotely in March and April of 2020 because of the COVID-

       19 pandemic. Mail was not being checked daily.

¶ 27         Against this backdrop, in denying Respondent’s motions to dismiss for lack of

       subject matter jurisdiction, the ALJ chose to credit Petitioner’s testimony that his

       wife mailed the Step 1 Grievance Form on 20 March 2020 and that the Grievance

       Form was timely filed even though Respondent’s Grievance Intake Coordinator

       testified that she did not receive an electronic copy until 7 April 2020.     Giving
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       appropriate deference to the ALJ, who was present in this case for the only “fact-

       finding hearing of record when witness demeanor [could] be directly observed[,]” id.

       at 13, 802 S.E.2d at 124, and specifically, the ALJ’s credibility determination with

       respect to Petitioner’s testimony, we hold that the finding implicit in the ALJ’s rulings

       denying Respondents’ motions to dismiss for lack of subject matter jurisdiction—that

       the Grievance Form was timely filed—has a rational basis in the evidence under the

       whole record test. To hold otherwise would effectively require us to re-weigh the

       evidence before the ALJ and substitute our own credibility determination for that of

       the ALJ, which we cannot do as a reviewing court under the whole record test. See

       Carroll, 358 N.C. at 660, 599 S.E.2d at 895.1

                                         III.     Conclusion

¶ 28          We affirm the decision of the ALJ because the ALJ chose to credit Petitioner’s

       testimony regarding the filing of his Step 1 Grievance Form. Since Petitioner first

       exhausted his administrative remedies before filing a contested case in OAH, the ALJ

       had subject matter jurisdiction over this contested case.

              AFFIRMED.

              Judge CARPENTER concurs.



              1  Respondent offers no argument that the ALJ’s determinations regarding
       Respondent’s failure to comply with state personnel policy on separation due to unavailability
       was error, and any such error is therefore deemed abandoned. See N.C. R. App. P. 28(a)
       (“Issues not presented and discussed in a party’s brief are deemed abandoned.”).
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Judge TYSON dissents by separate opinion.
        No. COA21-482 – Russell v. N.C. Dep’t of Pub. Safety


             TYSON, Judge, dissenting.


¶ 29         The decision of the ALJ is properly reversed and remanded with instructions

       to dismiss Petitioner’s case for lack of subject matter jurisdiction. I respectfully

       dissent.

                         I.   Factual and Procedural Background

¶ 30         Petitioner’s employment with the Department of Public Safety (“DPS”) was

       terminated as of 3 March 2020 via a separation letter he received on 9 March 2020.

       If Petitioner wished to invoke a grievance review process, a “Step 1 Grievance

       Mediation Form” (“Step 1 Form”) was required to be filed before the fifteenth calendar

       day after receipt of the letter or 24 March 2020. The Step 1 Form states: “[t]o file a

       grievance, you must submit this form within 15 calendar days of the event (or

       knowledge of the event) that you are grieving; otherwise, your grievance cannot be

       accepted.” (emphasis supplied). The 3 March 2020 separation letter stated that the

       Step 1 Grievance Form “must be received by the Grievance Intake Coordinator on or

       before the fifteenth (15th) calendar day after receiving this letter” to be considered

       timely. (emphasis supplied).

¶ 31         Petitioner alleged he mailed the letter on 20 March 2020, but it was not marked

       as received by the Grievance Intake Coordinator until 8 April 2020, and only then

       after Petitioner had emailed a copy of the form. The purported mailed Step 1 Form

       was never received by the DPS Grievance Intake Coordinator.

¶ 32         Petitioner’s emailed Step 1 Form was marked “as received” on 9 April 2020 and
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       was deemed to be untimely. Petitioner’s appeal was administratively dismissed.

       Petitioner filed a Petition for a Contested Case Hearing in the Office of

       Administrative Hearings (“OAH”). DPS moved for dismissal, arguing Petitioner had

       failed to timely invoke and exhaust his administrative remedies by completing the

       internal grievance process and receiving a final agency decision, and asserted OAH

       lacked subject matter jurisdiction to review the case. The ALJ denied the motion.

¶ 33         As is correctly stated by the majority’s opinion: “The ALJ made no express

       finding regarding the timeliness of the filing of the Grievance Form, but denied

       Respondent’s renewed motion to dismiss for lack of subject matter jurisdiction based

       on ‘the effects COVID-19 . . . on the operation of our State government offices[.]’” DPS

       appeals.

                                           II.    Issues

¶ 34         Respondent asserts two issues on appeal: (1) whether former Chief Justice

       Beasley’s order extending the time and periods of limitation due to COVID-19 applies

       to the internal grievance process under Office of State Human Resources (OSHR);

       and, (2) whether the ALJ erred in denying Respondent’s Motion to Dismiss for lack

       of subject matter jurisdiction.

                                         III.    Analysis

                                     A. Chief Justice’s Order

¶ 35         Chief Justice Beasley’s order titled “Extension of Time and Periods of
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       Limitation Pursuant to N.C.G.S. § 7A-39(b)(1)” provides:

                    all pleadings, motions, notices, and other documents and
                    papers that were or are due to be filed in any county of this
                    state on or after 16 March 2020 and before the close of
                    business on 1 June 2020 in civil actions, criminal actions,
                    estates, and special proceedings shall be deemed to be
                    timely filed if they are filed before the close of business on
                    1 June 2020.

                    all other acts that were or are due to be done in any county
                    of this state on or after 16 March 2020 and before the close
                    of business on 1 June 2020 in civil actions, criminal actions,
                    estates, and special proceedings shall be deemed to be
                    timely done if they are done before the close of business on
                    1 June 2020.

¶ 36         On 18 March 2020, Chief Judge Mann of the OAH also extended the filing

       deadlines based upon COVID-19.

¶ 37         The extension of time for filing asserted under N.C. Gen. Stat. § 7A-39 is

       expressly applicable only to those pleadings and documents filed with the courts

       within the Judicial Branch and to those matters and actions attendant thereto within

       the Judicial Branch. The statute grants the Chief Justice the authority to cancel

       court sessions and extend the time of filing for documents, motions, and papers in

       cases before the courts. N.C. Gen. Stat. § 7A-39 (2021).

¶ 38         It does not extend the time of filing for Executive Branch internal agency

       grievance processes. Chief Justice Beasley’s 13 March 2020 order did not extend

       Petitioner’s duty to timely file his Step 1 Form to invoke the jurisdiction of DPS’
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       administrative review process. See id.

¶ 39         The Chief Justice’s authority to extend the time for Judicial Branch filings

       under N.C. Gen. Stat. § 7A-39 and Chief Judge Mann’s extension of filing in the OAH

       did not to extend every internal Executive Branch agency filing deadline. Petitioner’s

       argument is without merit.

                             B. Lack of Subject Matter Jurisdiction

¶ 40         To properly initiate a contested case before the OAH, a state employee must

       first invoke and exhaust his agency’s internal administrative remedies. The state

       employee must complete the internal grievance process, receive a final agency

       decision, and receive final review and approval of that decision by OSHR to invoke

       and exhaust his administrative remedies, prior to appealing to OAH. N.C. Gen. Stat.

       § 126-34.01 (2021).

¶ 41         In order to invoke jurisdiction to pursue the grievance process, the state

       employee carries the burden under the statute to show he timely filed a Step 1 Form

       within 15 days of the event (or knowledge of the event) for which the employee is

       grieving. If the employee fails to initiate the grievance process within the required

       15 days, jurisdiction is not involved, the internal grievance process is hated, and the

       grievance is administratively dismissed, the internal grievance process is halted,

       with no further action by the agency or OSHR.

¶ 42         Petitioner’s assertion that he or his wife timely mailed the Step 1 Form does
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       not carry his jurisdictional burden. The employee must timely invoke and exhaust

       his agency’s internal administrative remedies prior to petitioning for a contested case

       hearing before OAH. Petitioner incorrectly argues this jurisdictional prerequisite

       puts the employee in a “Catch-22” situation, asserting he is unable to exhaust his

       administrative remedies and unable to appeal the agency decision. He admittedly

       received notice his of separation by letter and chose to purportedly invoke internal

       agency jurisdiction by a means, which left no objective certificate or proof of timely

       filing. Petitioner’s assertion has no merit.

¶ 43         Petitioner further argues this Court’s decision in Erickson requires this Court

       to affirm the ALJ’s denial of DPS’ motion to dismiss. Erickson v. N.C. Dep’t of Public

       Safety, 264 N.C. App 700, 826 S.E.2d 821 (2019). In Erickson, DPS alleged Erickson

       had missed his deadline to continue his appeal from Step 1 to Step 2 in the internal

       grievance process. Id. at 701, 826 S.E.2d at 823. The Step 2 Form stated it had to be

       filed within 5 calendar days, but also that if it was not received within that timeframe,

       it would not be accepted. Id. at 707, 826 S.E.2d at 826. This Court determined the

       language in the form was conflicting and ambiguous and construed it against the

       drafting party. Id. This Court ultimately held Erickson’s petition for a contested case

       hearing was proper despite not having timely exhausted his administrative remedies.

       Id.
¶ 44         Erickson is easily distinguishable from the facts before us. Erickson’s mailed
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                                         Tyson, J., dissenting



       Step 2 Form was received one day late, whereas here, the mailed initiation of process

       Step 1 Form was never received. The issue before the Court in that case was whether,

       given the ambiguity of the form’s instructions, Erickson had substantially complied

       with the form when viewed in the light most favorable to him. Id. at 706, 826 S.E.2d

       at 826. The agency’s jurisdiction had already been timely invoked. See id.
¶ 45         Here, Petitioner’s form was not received until 15 days after the deadline, and

       only then after Petitioner emailed the admittedly untimely form. He failed to comply

       with and invoke DPS’ internal grievance process. Petitioner’s failure deprived OAH

       of jurisdiction to hear the contested case. N.C. Gen. Stat. § 126-34.01.

                                       IV.     Conclusion

¶ 46         Statutes of limitations and repose limit and cut off the ability of a claimant,

       even with a meritorious claim, to timely assert rights.        These statutes can be

       jurisdictional where the burden to show compliance therewith rests upon the

       claimant. Compliance is not satisfied by the bald assertions of timely filing by the

       party with the burden, where the record is devoid of any objective compliance. A

       claimant, even with a valid ticket, who arrives at the station late sees the train has

       already left. Those who timely arrived and boarded the train get to travel. Those

       who did not will be left on the station’s platform, even if entitled to board and the

       train is just pulling away.

¶ 47         No objective evidence shows Petitioner carried his burden to timely invoke
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       DPS’ internal and jurisdictional grievance process. The extensions of times in the

       Judicial Branch and the OAH has no impact on an Executive Agency’s internal

       jurisdictional procedures.

¶ 48         The employee must timely invoke and exhaust his agency’s internal

       administrative remedies prior to petitioning for a contested case hearing before OAH.

       Id. This he failed to do. Neither the ALJ nor COVID can excuse a jurisdictional

       defect.

¶ 49         DPS’ jurisdictional review train left the station on schedule. Petitioner was

       not on board. I vote to reverse the ALJ and remand to dismiss for lack of OAH

       jurisdiction. I respectfully dissent.
